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 3                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 4                                    AT SEATTLE
 5
       KEVIN G. BOYD, individually and on
 6     behalf of others similarly situated,

 7                            Plaintiff,
                                                        C18-1207 TSZ
 8         v.
                                                        MINUTE ORDER
 9     BANK OF AMERICA, N.A.,

10                            Defendant.

11        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
12
           (1)     Within seven (7) days of the date of this Minute Order, the parties shall
13 (a) file redlined versions of their amended settlement agreement and revised proposed
   class notice, showing the changes made pursuant to the Order entered July 8, 2020,
14 docket no. 27; (b) send Microsoft Word versions of the revised proposed class notice and
   the proposed adjustment form to ZillyOrders@wawd.uscourts.gov; and (c) file a
15 declaration concerning when and to whom the notices required by 28 U.S.C. § 1715 were
   provided and whether any response has been received.
16
           (2)     The deferred portion of plaintiff’s unopposed motion for preliminary
17 approval of class action settlement, docket no. 25, is RENOTED to September 4, 2020.
            (3)     The Clerk is directed to send a copy of this Minute Order to all counsel of
18
     record.
19          Dated this 28th day of August, 2020.
20
                                                       William M. McCool
21                                                     Clerk

22                                                     s/Karen Dews
                                                       Deputy Clerk
23

     MINUTE ORDER - 1
